      Appellate
            Appellate
                Case: Case:
                      22-1409
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                                                17 Date Filed:
                                                         Date 12/12/2022
                                                               Filed: 12/12/2022
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                                             UNITED STATES COURT OF APPEALS
                                                 FOR THE TENTH CIRCUIT

                                  Entry of Appearance and Certificate of Interested Parties
        Alejandro Menocal, et al.

      v.                                                                            Case No. 22-1409
        The Geo Group, Inc.

    INSTRUCTIONS: COUNSEL FOR A PARTY MUST FORTHWITH EXECUTE AND FILE THIS FORM,
    INDICATING METHOD(S) OF SERVICE ON ALL OTHER PARTIES. MULTIPLE COUNSEL APPEARING FOR
    A PARTY OR PARTIES AND WHO SHARE THE SAME MAILING ADDRESS MAY ENTER THEIR
    APPEARANCES ON THE SAME FORM BY EACH SIGNING INDIVIDUALLY.



              In accordance with 10th Cir. R. 46.1, the undersigned attorney(s) hereby appear as counsel for
Alejandro Menocal, Grisel Xahuentitla, Dagoberto Vizguerra, Demetrio Valerga, Hugo Hernandez, Jesus Gaytan, Marcos Brambila, Lourdes Argueta and Olga Alexaklina
     ____________________________________________________________________________________
                                               Party or Parties
     Appellees
    _________________________________________________________________________, in the subject case(s).
                                Appellant/Petitioner or Appellee/Respondent

              Further, in accordance with 10th Cir. R. 46.1, the undersigned certify(ies) as follows: (Check one.)
              On the reverse of this form is a completed certificate of interested parties and/or attorneys not otherwise
              disclosed, who are now or have been interested in this litigation or any related proceeding. Specifically,
              counsel should not include in the certificate any attorney or party identified immediately above.

              There are no such parties, or any such parties have heretofore been disclosed to the court.

     David H. Seligman
    _________________________________________                                ______________________________________________
    Name of Counsel                                                          Name of Counsel

    ___________________________________________                              ______________________________________________
    Signature of Counsel                                                     Signature of Counsel
    PO Box 371680, PMB 44465 Denver, CO 80237-5680
    720-441-2236
    ___________________________________________                              ______________________________________________
    Mailing Address and Telephone Number                                     Mailing Address and Telephone Number

                    david@towardsjustice.org
    E-Mail Address ______________________________                            E-Mail Address _________________________________


    I hereby certify that a copy of this Entry of Appearance and Certificate of Interested Parties was served on

                          12/12/2022
    (please insert date) ____________________________                               CM/ECF
                                                      via (state method of service) ______________________.


          All counsel of record
    to __________________________________________                              s/ David H. Seligman
                                                                             ______________________________________________
    (See Fed. R. App. P. 25(b))                                              (Signature)



    A-5 Entry of Appearance Form 10/09
 Appellate
       Appellate
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                 22-1409
                       22-1409
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                                  UNITED STATES COURT OF APPEALS
                                      FOR THE TENTH CIRCUIT

      Alejandro Menocal, et al.


 v.                                                         Case No. 22-1409
      The Geo Group, Inc.




                                      Certificate of Interested Parties




       The following are not direct parties in this appeal but do have some interest in or a relationship
with the litigation or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
entering an appearance in this court but who have appeared for any party in prior trial or administrative
proceedings, or in related proceedings, are noted below.

                                    (Attach additional pages if necessary.)




A-5 Entry of Appearance Form 10/09
